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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


MARK ANTHONY ORTEGA,                             §
                                                 §
                  Plaintiff,                     §                 SA-24-CV-00662-FB
                                                 §
vs.                                              §
                                                 §
JOHN DOE,                                        §
                                                 §
                  Defendant.                     §



                                             ORDER

       Before the Court in the above-styled cause of action is Plaintiff’s Motion for Leave to

Serve a Third-Party Subpoena Prior to a Rule 26(f) Conference [#2]. This case arises under the

Telephone Consumer Protection Act (“TCPA”). Plaintiff alleges that he received at least 501

phone calls on his phone number, which is registered on the Do Not Call Registry, by subscribers

using an Automated Telephone Dialing System (“ATDS”). The TCPA makes it unlawful to use

an ATDS system to make any call without express prior consent. 47 U.S.C. § 227(b)(1).

Through caller ID, Plaintiff was able to identify the four phone numbers from which the calls

were made. But he does not know the legal entity who placed the calls and therefore does not

know the identity of the defendant and is unable to effectuate service.

       Plaintiff’s motion asks the Court to grant it leave to serve third-party subpoenas to

identify the name and contact information for the subscriber of various telephone numbers so

that they may be served with process in this suit. Plaintiff utilized a database listing telephone

provider services and discovered that the majority of the numbers at issue are served by Onvoy,




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LLC, and Peerless Network, Inc. Plaintiff wishes to serve subpoenas on both entities and any

subsequent downstream providers as Plaintiff may identify.

       Generally, “[a] party may not seek discovery from any source before the parties have

conferred as required by Rule 26(f), except . . . when authorized by . . . court order.” Fed. R.

Civ. P. 26(d)(1). The Fifth Circuit has not adopted a specific standard for evaluating whether to

permit expedited discovery, but courts in the Western District of Texas have adopted a “good-

cause” standard. See, e.g., U.S. v. Abbott, No. 1:23-CV-853-DAE, 2023 WL 6532633, at *1–2

(W.D. Tex. Aug. 3, 2023); Strike 3 Holdings, LLC v. John Doe Subscriber Assigned IP Address

99.162.241.119, No. 5:21-CV-01002-JKP, 2021 WL 5203338, at *2–3 (W.D. Tex. Nov. 8,

2021); Hunter Killer Prods., Inc. v. Boylan, No. EP-20-CV-00306-FM, 2021 WL 2878558, at

*3–4 (W.D. Tex. Jan. 28, 2021). Under this standard, “a court must examine the discovery

request on the entirety of the record to date and the reasonableness of the request in light of all

the surrounding circumstances.” United Biologics, LLC v. Am. Acad. of Allergy, No. SA-14-CV-

35-OLG, 2014 WL 12637937, at *2 (W.D. Tex. Mar. 20, 2014) (emphasis, internal quotation

marks, and citation omitted). In making this determination, courts commonly consider the

following factors:

           (1) a concrete showing of a prima facie claim of actionable harm by the
           plaintiff; (2) specificity of the discovery request; (3) the absence of
           alternative means to obtain the subpoenaed information; (4) a central need
           for the subpoenaed information to advance the claim; and (5) the user’s
           expectation of privacy.

Presta v. Doe, No. A-22-CV-00242-LY, 2022 WL 22248546, at *1 (W.D. Tex. Mar. 25, 2022).

“The party seeking expedited discovery bears the burden of showing good cause, and the subject

matter of the expedited discovery requests should be narrowly tailored in scope.” Abbott, 2023

WL 6532633, at *2.



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       The Court will grant the motion because Plaintiff has established good cause for the early

discovery. Plaintiff has pleaded a prima facie claim of violations of the TCPA, and his discovery

request is narrowly tailored to identify only the subscriber, address, contact telephone number,

website, and email address of the defendants. Additionally, Plaintiff has already pursued other

avenues to discover the subscriber identity (by researching that information through publicly

available databases and calling the phone numbers repeatedly), and Plaintiff cannot proceed with

this case without this information. Finally, Plaintiff’s interest in identifying Defendant to pursue

his TCPA claims outweighs any privacy interest of Defendant. See Presta, 2022 WL 22248546,

at *2 (finding good cause for early discovery in TCPA case and noting that utilizing Rule 26(d)

to identify a “Doe” defendant is routine).

       IT IS THEREFORE ORDERED that Plaintiff’s Motion for Leave to Serve a Third-

Party Subpoena Prior to a Rule 26(f) Conference [#2] is GRANTED.

       IT IS FURTHER ORDERED that Plaintiff may serve Onvoy, LLC and Peerless

Network, Inc., a Rule 45 subpoena commanding them to provide Plaintiff with the true name,

address, contact telephone number, website, and email address for the subscriber(s) to the

telephone numbers (210) 985-2084, (830) 431-9821, (239) 251-3970, and (346) 342-4602.

       IT IS FURTHER ORDERED that Plaintiff may also serve a Rule 45 subpoena in the

same manner as above on any other entity that is identified in response to the subpoenas served

on Onvoy, LLC and Peerless Network, Inc. as a sub-provider, lessor, call center, aggregator, or

similar provider.

       IT IS FURTHER ORDERED that Plaintiff may, if necessary, request permission to

serve additional subpoenas of any downstream providers it discovers after serving the subpoenas

authorized by this Order.



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       IT IS FINALLY ORDERED that Plaintiff may use the information disclosed in

response to the subpoenas for the purpose of enforcing his TCPA claims.

       SIGNED this 23rd day of July, 2024.




                                    ELIZABETH S. ("BETSY") CHESTNEY
                                    UNITED STATES MAGISTRATE JUDGE




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